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            Transcript of the Testimony of
               Hugh McGrath, M.D.


                 Date taken: August 21, 2020



       Kenneth Nasset v. United States of America




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                                                                              Page 35
   1      him -- you talking about Humira but then
   2      receiving Enbrel later, would that be possible
   3      that it happened?
   4              A.        Yes.
   5              Q.        Now, when you say there was this back
   6      and forth as to which one, who were you going
   7      back and forth with?
   8              A.        Him, the patient.              The difference
   9      between the two drugs is one you take every week
 10       and the other you take once every two weeks and
 11       some patients prefer to take drugs every two
 12       weeks.
 13               Q.        Now, under each scenario when you put
 14       someone on a TNF inhibitor, do you require a
 15       follow-up appointment or just follow up --
 16               A.        Yes.
 17               Q.        Okay.        And when do you usually
 18       schedule them for a follow-up?
 19               MS. KAUFMAN:
 20                         I'm going to object to the form of
 21       the question.
 22       BY MS. VASQUEZ:
 23               Q.        You can answer if you understand the
 24       question.
 25               A.        A few months.           A few months out.


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                                                                                Page 56
   1              A.        Yes.
   2              Q.        Now, in the chart I don't see
   3      anywhere where it says "return to clinic."                       Why
   4      would that be?
   5              A.        I'm not sure.           I may have put it in
   6      the chart but it didn't show up.                        I can't answer
   7      that.
   8              Q.        That was a nurse Sandra Godfrey, do
   9      you see that?
 10               A.        Yeah.
 11               Q.        Instructed -- and then she put here
 12       "Action: Instructed him that I would alert Dr.
 13       McGrath and if he did not hear anything in about
 14       one week, send us a secure message and I will
 15       check for you."
 16               A.        Okay.
 17               Q.        Now, do you have any independent
 18       recollection on whether you followed up with
 19       Nurse Godfrey about the follow-up agreement?
 20               A.        No.     I have no recollection.
 21               Q.        Okay.        Now we're going to go to
 22       Exhibit 6.         This is VA 1461.              This is a nursing
 23       primary care note from November 3rd, 2016.                       So
 24       that would have been a few months after your
 25       September meeting with him; is that right?


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